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                              UNITED STATES BANKRUPTCY COURT
                               EASTERN DISTRICT OF LOUISIANA

       In re:                                         §
                                                      §            Case No. 20-10846
       THE ROMAN CATHOLIC CHURCH                      §
       OF THE ARCHDIOCESE OF NEW                      §            Section “A”
       ORLEANS,                                       §
                                                      §            Chapter 11
                          1
                Debtor.                               §
                                                      §

                                        AFFIDAVIT OF SERVICE

   STATE OF NEW YORK  )
                      ) ss:
   COUNTY OF NEW YORK )

   I, Roderick Wong, declare:

         1. I am over the age of 18 years and not a party to this chapter 11 case.

         2. I am employed by Donlin, Recano & Company, Inc. (“DRC”), 48 Wall Street, 22nd Floor,
            New York, NY 10005.

         3. On the 6th day of December 2023, DRC, at my direction and under my supervision, caused
            a true and accurate copy of the Order (Docket No. 2709), to be served upon the parties,
            who will not receive notice through the Court’s CM/ECF System, via electronic mail upon
            the parties as set forth on Exhibit 1; and via First Class U.S. Mail upon the parties as set
            forth on Exhibit 2, attached hereto.

   I declare under penalty of perjury that the foregoing is true and correct to the best of my personal
   knowledge. Executed this 11th day of December 2023, New York, New York.


                                                                   By ________________________
                                                                         Roderick Wong
   Sworn before me this
   11th day of December 2023

   _____________________
   Notary Public

   1
     The last four digits of the Debtor’s federal tax identification number are 8966. The Debtor’s principal
   place of business is located at 7887 Walmsley Ave., New Orleans, LA 70125.
   RCCANO00372
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                                  EXHIBIT 1
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000051P002-1435S-372                         000119P001-1435S-372                        000117P001-1435S-372              000097P002-1435S-372
AMERIGROUP LA                                BROWN RICE MARKETING LLC                    CRESCENT DOOR & HARDWARE INC      DAMON J BALDONE & ASSOCIATES
PO BOX 28147                                 MARK W BROWN                                NEUVILLE C HOTSTREAM SR           DAMON J BALDONE & ASSOCIATES
NEW YORK NY 10087                            476 MATAIRIE ROAD STE 202                   6100 HUMPHREYS ST                 DAMON J BALDONE,ESQ
MPSWEB@AMERIGROUP.COM                        METAIRIE LA 70005                           NEW ORLEANS LA 70123              162 NEW ORLEANS BLVD
                                             MARK@BROWNRICEMARKETING.COM                 NEUVILLE@CDHNO.COM                HOUMA LA 70364
                                                                                                                           DBALDONE@HOTMAIL.COM


000086P001-1435S-372                         000062P003-1435S-372                        031338P001-1435A-372              000044P002-1435S-372
DKI OFFICE FURNITURE & SUPPLIES              ENTERGY                                     FERNAND L LAUDUMIEY IV            GALLAGHER BENEFIT SVC INC
MIKE JACOBS                                  SEAN D MOORE ASST GC                        COUNSEL FOR START CORPORATION     ERIC PEARSON
5530 JEFFERSON HWY                           639 LOYOLA AVE                              LAUDUMIEY@CHAFFE.COM              2850 WEST GOLF RD
NEW ORLEANS LA 70123                         STE 300 / L-ENT-26C                                                           5TH FL
MIKE.JACOBS@DKIOFFICESOLUTIONS.COM           NEW ORLEANS LA 70113                                                          ROLLING MEADOWS IL 60008
                                             SMOORE6@entergy.com                                                           ERIC_PEARSON@AJG.COM


000124P002-1435S-372                         000045P002-1435S-372                        000052P002-1435S-372              000109P001-1435S-372
JUDGE MICHAEL HOGAN                          LOUISIANA CHILDREN'S MEDICAL CENTER         LUBA CASUALTY INSURANCE CO        MCCARTER & ENGLISH LLP
PO BOX 1375                                  JENNY BARNETT-SARPALIUS CFO                 STEVE WERNER, CPA, CIA            RICHARD A BERAN;JOHN C KELLY
EUGENE OR 97440                              200 HENRY CLAY AVE                          2351 ENERGY DR                    FOUR GATEWAY CENTER
JUDGE@HOGANMEDIATION.NET                     NEW ORLEANS LA 70118                        STE 2000                          100 MULBERRY ST
                                             JENNIFER.SARPALIUS@LCMCHEALTH.ORG           BATON ROUGE LA 70808              NEWARK NJ 07102
                                                                                         LUBAACCOUNTING@LUBAWC.COM         RBERAN@MCCARTER.COM


000109P001-1435S-372                         000050P002-1435S-372                        000120P001-1435S-372              000095P001-1435S-372
MCCARTER & ENGLISH LLP                       MEITLER CONSULTANTS, INC                    METROSTUDIO LLC                   PACHULSKI STANG ZIEHL & JONES LLP
RICHARD A BERAN;JOHN C KELLY                 TOM HEDING                                  HEATHER GORMAN                    JAMES I STANG
FOUR GATEWAY CENTER                          39 BEECHWOOD RD                             6501 SPANISH FORT BLVD            10100 SANTA MONICA BLVD.,13TH FL
100 MULBERRY ST                              SUMMIT NJ 07901                             NEW ORLEANS LA 70124              LOS ANGELES CA 90067
NEWARK NJ 07102                              THEDING@MEITLER.COM                         HGORMAN@METROSTUDIO.NET           JSTANG@PSZJLAW.COM
JKELLY@MCCARTER.COM


000110P001-1435S-372                         000064P001-1435S-372                        000031P002-1435S-372
RUSSELL POTTHARST                            VASQUEZ LAW                                 WHITNEY BANK CORPORATE TRUST
411 W 5TH ST APT 510                         JESSICA VASQUEZ,ESQ                         CORPORATE TRUST
LOS ANGELES CA 90013                         400 POYDRAS ST.,STE 400                     ELIZABETH ZEIGLER
RUSTYCPSR@GMAIL.COM                          NEW ORLEANS LA 70130                        445 NORTH BLVD.,STE 201
                                             JVASQUEZ@VASQUEZLAWOFFICE.COM               BATON ROUGE LA 70802
                                                                                         BETH.ZEIGLER@HANCOCKWHITNEY.COM




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                                  EXHIBIT 2
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000049P002-1435S-372                         000084P001-1435S-372                                 000055P002-1435S-372                      000087P002-1435S-372
ADVANCED RECONSTRUCTIVE CARE                 ATMOS ENERGY LOUISIANA                               BADIA MORO HEWETT ARCHITECTS LLC          BSN SPORTS
DR. RAVI TANDON                              CHRISTOPHER T. FORSYTHE, CFO                         TERRILL HEWETT                            KENT LABOR, CFO
3900 VETERANS MEMORIAL BLVD                  1818 ERASTE LANDRY ROAD                              2014 JENA ST                              14460 VARSITY BRANDS WAY
STE 200                                      LAFAYETTE LA 70506                                   NEW ORLEANS LA 70115                      FARMERS BRANCH TX 75244-1200
METAIRIE LA 70002



000023P001-1435S-372                         000057P002-1435S-372                                 000026P001-1435S-372                      000032P001-1435S-372
CITY OF NEW ORLEANS                          CORASS ELECTRICAL SVC                                DELL FINANCIAL SVC LP                     ENVIRONMENTAL PROTECTION AGENCY
DEPT OF FINANCE                              EDWARD CORASS III                                    MALL STOP P82DF                           OFFICE OF GENERAL COUNSEL
BUREAU OF REVENUE                            1411 27TH ST                                         23 ONE DELL WAY                           ARIEL RIOS BLDG
PO BOX 61840                                 KENNER LA 70062                                      ROUND ROCK TX 78682                       1200 PENNSYLVANIA AVE NW MAIL CODE 2310A
NEW ORLEANS LA 70161-1840                                                                                                                   WASHINGTON DC 20460



000116P001-1435S-372                         000072P002-1435S-372                                 000083P001-1435S-372                      000028P002-1435S-372
FIRST BANK AND TRUST                         GREGORY A PLETSCH & ASSOCIATES (A PROFESSIONAL LAW   HAHN ENTERPRISES, INC.                    HANCOCK WHITNEY BANK
JAMES R NOEL                                 GREGORY A PLETSCH                                    TANIA E. HAHN                             PO BOX 4019
118 LAKE DRIVE                               111 FOUNDERS DRIVE STE 500                           3702 BIENVILLE ST                         GULFPORT MS 39502-4019
COVINGTON LA 70433                           BATON ROUGE LA 70810                                 NEW ORLEANS LA 70119




000029P002-1435S-372                         000030P001-1435S-372                                 000039P001-1435S-372                      000009P001-1435S-372
HANCOCK WHITNEY BANK                         HANCOCK WHITNEY BANK                                 HANCOCK WHITNEY BANK                      INTERNAL REVENUE SVC
BANKRUPTCY DEPT                              CREDIT CARD CENTER                                   5328 GOVERNMENT ST                        OFFICE OF DISTRICT COUNSEL
2510 14TH ST                                 P O BOX 23070                                        BATON ROUGE LA 70806                      PO BOX 30509
GULFPORT MS 39501                            COLUMBUS GA 31902-3070                                                                         NEW ORLEANS LA 70190




000010P001-1435S-372                         000011P002-1435S-372                                 000012P001-1435S-372                      000022P001-1435S-372
INTERNAL REVENUE SVC                         INTERNAL REVENUE SVC                                 INTERNAL REVENUE SVC                      JEFFERSON PARISH SHERIFFS OFFICE
CENTRALIZED INSOLVENCY OPERATION             CENTRALIZED INSOLVENCY OPERATION                     1555 POYDRAS ST                           BUREAU OF REVENUE AND TAXATION
PO BOX 7346                                  1111 PENNSYLVANIA AVE NW                             STE 220 M/S 31                            SALES TAX DIVISION
PHILADELPHIA PA 19101-7346                   WASHINGTON DC 20004-2541                             NEW ORLEANS LA 70112                      PO BOX 248
                                                                                                                                            GRETNA LA 70054



031337P002-1435A-372                         000027P001-1435S-372                                 000034P001-1435S-372                      000002P001-1435S-372
JOSEPH                                       KS STATE BANK                                        LOUISIANA DEPT OF ENVIRONMENTAL QUALITY   LOUISIANA DEPT OF LABOR
SUE ELLEN CANIZARO                           1010 WESTLOOP                                        602 NORTH FIFTH ST                        1001 NORTH 23RD ST
500 NORTHLINE ST                             PO BOX 69                                            BATON ROUGE LA 70802                      PO BOX 94094
METAIRIE LA 70005                            MANHATTAN KS 66505-0069                                                                        BATON ROUGE LA 70804-9094




000005P001-1435S-372                         000018P001-1435S-372                                 000024P001-1435S-372                      000008P001-1435S-372
LOUISIANA DEPT OF REVENUE                    LOUISIANA DEPT OF REVENUE                            LOUISIANA DEPT OF REVENUE                 LOUISIANA DEPT OF WORK FORCE COMMISSION
617 NORTH THIRD ST                           PO BOX 201                                           SALES TAX DIVISION                        1001 N 23RD ST
PO BOX 201                                   BATON ROUGE LA 70821-0201                            PO BOX 3138                               BATON ROUGE LA 70802
BATON ROUGE LA 70802                                                                              BATON ROUGE LA 70821-0201
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000040P001-1435S-372                            000047P001-1435S-372                     000088P001-1435S-372                     000036P001-1435S-372
LOUISIANA PUBLIC FACILITIES AUTHORITY           NAME AND ADDRESS INTENTIONALLY OMITTED   NAME AND ADDRESS INTENTIONALLY OMITTED   OCCUPATIONAL SAFETY AND HEALTH ADMINISTRATION
2237 S ACADIAN THRUWAY                                                                                                            A MACEO SMITH FEDERAL BLDG
SUITE 650                                                                                                                         525 GRIFFIN ST STE 602
BATON ROUGE LA 70808                                                                                                              DALLAS TX 75202




000048P001-1435S-372                            000046P002-1435S-372                     000096P003-1435S-372                     000021P001-1435S-372
OCHSNER HEALTH SYSTEM                           OPTUMRX FOR RX CLAIMS                    PACHULSKI STANG ZIEHL & JONES LLP        SHERIFF AND EX OFFICIO TAX COLLECTOR
STEPHANIE WELLS                                 RICHARD MATTERA, CHIEF LEGAL OFFICER     JOSHUA M FRIED                           JERRY LARPENTER
1514 JEFFERSON HIGHWAY                          2300 MAIN ST                             1 SANSOME ST STE 3430                    PARISH OF TERREBONE
NEW ORLEANS LA 70121                            IRVINE CA 92614                          SAN FRANCISCO CA 94104-4436              PO BOX 1670
                                                                                                                                  HOUMA LA 70361



000025P001-1435S-372                            000102P002-1435S-372                     000013P001-1435S-372                     000003P001-1435S-372
THE BANK OF NEW YORK TRUST CO NA                TMI TRUST COMPANY                        US ATTORNEY'S OFFICE                     US DEPT OF JUSTICE
601 POYDRAS ST                                  KEVIN M DOBRAVA                          EASTERN DISTRICT OF LOUISIANA            950 PENNSYLVANIA AVE NW
STE 2225                                        5901 PEACHTREE RD                        650 POYDRAS ST                           WASHINGTON DC 20530-0001
NEW ORLEANS LA 70130                            STE C-495                                STE 1600
                                                ATLANTA GA 30328                         NEW ORLEANS LA 70130



000004P002-1435S-372                            000035P001-1435S-372                     000019P001-1435S-372                     000020P001-1435S-372
US DEPT OF LABOR                                US DEPT OF LABOR OSHA                    US DEPT OF THE TREASURY                  US DEPT OF THE TREASURY
OFFICE OF CHIEF COUNSEL                         OSHA REGION 4                            INTERNAL REVENUE SVC                     INTERNAL REVENUE SVC
200 CONSTITUTION AVE NW                         525 GRIFFIN ST STE 602                   OGDEN UT 84201-0005                      PO BOX 806532
WASHINGTON DC 20210                             DALLAS TX 75202                                                                   CINCINNATI OH 45280-6532




000006P001-1435S-372                            000037P001-1435S-372                     000053P004-1435S-372                     000085P001-1435S-372
US DEPT OF TREASURY                             VERMONT DEPT OF FINANCIAL REGULATION     WHITE OAK CONSULTING                     WRIGHT NATIONAL FLOOD INSURANCE
1500 PENNSYLVANIA AVE NW                        MR DAVID F PROVOST CFE                   PAUL A. BREAUX                           PATTY TEMPLETON-JONES
WASHINGTON DC 20220                             DEPUTY COMMISSIONER -CAPTIVE INSURANCE   88 MELROSE DR                            PO BOX 33070
                                                89 MAIN ST                               DESTREHAN LA 70047                       ST PETERSBURG FL 33733-8070
                                                MONTPELIER VT 05620-3101




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